 

Case 2:04-cr-00001-LRS ECF No. 54_ filed 09/19/05 PagelD.177 Page1of2

PROB 12A
(7/93) *

- United States District Court
us, DISTRICT COURT
for the EASTERN DISTRICT OF WASHINGTON
Eastern District of Washington SEP 19 2005
Report on Offender Under Supervision JAMES R LARSEN, CLERE
(No Action Requested) YAKIMA, WASHINGTON
Name of Offender: William Martin Shawl Case Number: 2:04CR00001-001

Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko
Date of Original Sentence: 1/18/2005 Type of Supervision: Supervised Release

Original Offense: Abusive Sexual Contact With a Date Supervision Commenced: 6/22/2005
Person Who is Less Than 12 Years Old, 18 U.S.C. §§
1153, 2244(a)(1)and(c)

Original Sentence: Prison - 20 Months; TSR - 36 Date Supervision Expires: 6/21/2008
Months

 

NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number Nature of Noncompliance

1 Mandatory Condition #2: The defendant shall not commit another Federal, state, or local
crime.

Supporting Evidence: On August 19, 2005, the defendant was arrested for driving under
the influence and driving without a license by the Okanogan Sheriff's Office, in Omak
Washington. This matter is currently pending in Okanogan District Court, case number
C00020419.

2 Special Condition #25: You shall abstain from the use of alcohol and illegal controlled
substances, and shall submit to urinalysis testing, including Breathalyzer testing, as directed
by the supervising probation officer.

Supporting Evidence: On August 19, 2005, the defendant was arrested for driving under
the influence of alcohol by the Okanogan Sheriff’s Office, in Omak Washington.

U.S. Probation Officer Action:

 

The offender was released from custody to begin a 3-year term of supervised release on June 22, 2008. On July 8,
2005, while registering as a sex offender with the Okanogan Sheriff's Office, the defendant was arrested and
incarcerated on an old misdemeanor warrant for minor in possession of alcohol. He was subsequently released on
July 22, 2005. The offender is currently in the process of completing sex offender and substance abuse assessments.
The new charges are still pending in Okanogan County. This offender has a myriad of personal, financial, and
substance abuse problems. The offender is struggling and will need lots of resources to address his issues. He is
unemployed and is supported by his mother. The defendant’s next Court appearance for the new criminal conduct

 
 

Case 2:04-cr-00001-LRS ECF No. 54 _ filed 09/19/05 PagelD.178 Page 2 of 2

Prob12A

~ Re: Shawl, William Martin
September 16, 2005

Page 2

is set for September 26, 2005. The probation officer is requesting the Court take judicial notice of the offender’s
violation behavior and take no further action at this time. The probation officer will track the new law violation and

advise the Court accordingly.
Respe
by “.

Kevin J. Crawford
USS. Probation Officer
Date: September 15, 2005

Submit a Request for Modifying the Condition or Term of Supervision
Submit a Request for Warrant or Summons

A Court Concurs with Officer Action
]
]
] Other

Signature of Judicial Officer

Yxlas.
Date

 
